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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    :
                                            :
       v.                                   :       Case No. 17-cr-69 (RDM)
                                            :
CANDACE CLAIBORNE,                          :
                                            :
                             Defendant.     :

             GOVERNMENT’S OPPOSITION TO DEFENDANT’S
       RENEWED EMERGENCY MOTION FOR COMPASSIONATE RELEASE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this Opposition to Defendant’s Renewed Emergency

Motion For Compassionate Release (ECF Dkt. # 78) (“Motion” or “Instant Motion”). The

defendant carries the burden to show that “extraordinary and compelling reasons” are present that

warrant a reduction in her sentence. She alleges no such reasons in her motion, and her medical

records from the institution show none.

                                          SUMMARY

       The defendant is incarcerated in Federal Correctional Institution (“FCI”) Hazelton, which,

as of this writing, has two inmates testing positive for COVID-19. This achievement reflects the

significant efforts by the United States Bureau of Prisons (“BOP”) and FCI Hazelton to protect

both staff and inmates, as detailed below and in the government response to the defendant’s last

Motion for Compassionate Release. Despite her insistence to the contrary in her prior motion, and

as the court has found, under CDC guidelines, the defendant has no health condition that places

her in a high-risk category for an adverse outcome from COVID-19.




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        Unfortunately, the defendant tested positive for COVID-19 on December 15. Medical

records indicate that she experienced a cough, fatigue, and intermittent body aches for

approximately eleven days, that she experienced loss of taste or smell and nausea or vomiting on

one day, but that she experienced no other symptoms and required no medical intervention. At the

time she was seen and tested positive for COVID-19, medical personnel noted that she was “alert

and oriented,” her lungs sounded clear, and that she had no fever.

        Having now recovered from the virus, the defendant now argues that the risk of reinfection

constitutes a reason supporting her compassionate release motion. However, as other judges have

ruled, the mere existence of the coronavirus and the possibility of contracting COVID-19

therefrom does not constitute an “extraordinary and compelling reason” supporting the defendant’s

release. Moreover, the fact that the defendant contracted COVID-19 and has recovered suggests

that her risk of reinfection is significantly lower than that of the unvaccinated public at large.

                                   FACTUAL BACKGROUND

   I.      The Bureau of Prisons’ COVID-19 Vaccination Campaign

        BOP is working with the Centers for Disease Control and Prevention (CDC) and the federal

government’s COVID-19 Vaccine/Therapeutics Operation (formerly known as Operation Warp

Speed) to ensure the BOP remains prepared to administer the COVID-19 vaccine to inmates and

staff as it becomes available. As of the week of February 5, 2021, the vaccine had been delivered

to every BOP facility. As of February 18, 2021, 327 inmates at FCI Hazelton had received

vaccinations.

        BOP is committed to making the vaccine available to all staff and inmates who choose to

receive it as quickly as possible. When an institution receives an allocation of the vaccine, it is

first offered to full-time staff because staff — who come and go between the facility and the



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community — present a greater potential vector for COVID-19 transmission. Vaccinating staff

protects staff members, inmates at the facility, and the community. Remaining doses at each BOP

facility have been provided (and will be provided) to inmates based on priority of need in

accordance with CDC guidelines. The vaccine will be offered to the inmate population on a wider

basis when additional doses are available. Information on BOP’s COVID-19 vaccine guidance

can be found here: https://www.bop.gov/resources/pdfs/2021_covid19_vaccine.pdf. Additional

information on BOP’s vaccination efforts – including information concerning each facility that is

updated daily – can be found here: https://www.bop.gov/coronavirus .

           Taken together, these measures are designed to sharply mitigate the risks of COVID-19

transmission in a BOP facility. BOP has pledged to continue monitoring the pandemic and to

adjust its practices as necessary to maintain the safety of prison staff and inmates while also

fulfilling its mandate of incarcerating all persons sentenced or detained based on judicial orders.

    II.       Current Conditions at FCI Hazelton

           The BOP website for FCI Hazelton indicates that the facility houses approximately 1781

inmates, 387 of whom are housed in the secure female facility where the defendant resides.

Despite the fact that 155 inmates have reportedly tested positive for COVID-19 during the entirety

of the pandemic (see Motion at 2), currently only two inmates are testing positive. In order to

minimize the risk of contact with infected persons, stringent policies have been implemented at

FCI Hazelton, including a modified lockdown in the defendant’s unit. 1

    III.      Defendant’s Convictions and Requests for a Sentence Reduction

           Defendant Candace Claiborne joined the Department of State (“State Department” or



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  The government’s response to the defendant’s prior motion for compassionate release outlined numerous
preventative steps and procedures taken by the U.S. Bureau of Prisons to protect inmates. See generally ECF Dkt. #
73. The government incorporates those representations herein.

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“DoS”) in 1999 as an Office Management Specialist (“OMS”). As a requirement of her position,

the defendant held a TOP SECRET security clearance and had access to classified information.

Due to her position at the State Department, the defendant had an obligation to report foreign

contacts and refrain from accepting all but minimal foreign gifts. As a security clearance holder,

she owed the United States a unique degree of loyalty. Indeed, when the defendant joined the

State Department, she swore an oath: “I will defend the Constitution of the United States against

all enemies foreign and domestic; that I will bear true faith and allegiance to the same; that I take

this obligation freely, without any mental reservation or purpose of evasion; and that I will well

and faithfully discharge the duties of the office . . . .” ECF Dkt. # 58 (Statement of Facts

(hereinafter, “SOF”)) ¶ 12.

       Notwithstanding these obligations, the defendant maintained a close relationship with two

agents of the People’s Republic of China (“PRC”) Intelligence Service (“PRCIS”). SOF ¶ 10 et

seq. For years, she failed to report her foreign contacts, and then provided her Chinese handlers

internal State Department documents and information in exchange for extensive gifts, monies, and

services provided to her and a close family member. The defendant further took steps to conceal

these contacts and gifts, lying to her employer and to law enforcement and destroying evidence in

the process.

       In the words of Department of State Counterintelligence Branch Chief Paul Higgins, “[the

defendant’s] failure to report gifts and foreign contacts resulted in the provision of information to

the Chinese government that, in [his] opinion, had the potential to cause harm to the . . . national

security of the United States.” See Declaration of Paul Higgins, ECF Dkt. # XX Exhibit A,

(hereinafter, “Higgins Declaration”) at ¶ 10.




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         The defendant was arrested on March 29, 2017 and released on personal recognizance into

the High Intensity Supervision Program (HISP). The defendant pleaded guilty on April 24, 2019

and, per the Court’s order, self -surrendered on June 5, 2019 and was held without bond. This

Court sentenced the defendant to a 40-month term of incarceration on July 9, 2019. After

sentencing, BOP designated the defendant to serve her sentence at FCI Hazelton, a BOP facility

located in Hazelton, West Virginia. The defendant remains incarcerated at that facility. The BOP

projects the defendant’s full term release date to be June 15, 2022.

         In June, 2020, the defendant moved this court for release on compassionate release

grounds. In denying the motion, the Court concluded the defendant may be “at greater risk than

many but not she is among those most at risk,” even assuming – without knowing – that certain

health factors might present some incremental risk to the defendant’s health. See ECF Minute

Order dated July 2, 2020. The Court further found that the defendant “failed to carry her burden

of demonstrating that ‘extraordinary and compelling reasons’ justify the substantial reduction in

her sentence that she seeks.”

         As of February 16, 2021, BOP records indicate that the defendant’s anticipated release

date, assuming she earns all available “good time” credits, is April 7, 2022. On that date, the

defendant will have served 34 months of her 40 month sentence. As of February 16, 2021, the

defendant has served one year, eight months and 13 days – approximately 59% of that 34 months.

   IV.      Defendant’s Health Concerns

         The defendant alleges no new health concerns in the instant Motion, aside from the fact

that she contracted COVID-19 in mid-December 2020. The defendant’s medical records for the

period since December 1, 2020, filed concurrently hereto as Exhibit A and current as of February

18, 2021, describe that the defendant had a cough, fatigue, and/or body aches for a period that



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ended within eleven days. See Exhibit A at 5, 19-31. On one of those days, she experienced nausea

or vomiting and a loss of taste or smell. Id at 29. The defendant denied having other symptoms

of COVID-19.      Id.   Medical personnel indicated that the defendant should undergo daily

temperature screening each day for 15 days. Id. That medical order was lifted two days early on

December 28, and none of the daily screenings indicated an above-normal temperature. Id at 16.

The records from the defendant’s next medical visit one month later reveal no discussion at all of

COVID-19 or complaints related to it. Id at 1-2. The records describe the defendant undergoing a

procedure to remove a wart from her ankle. Id. The records do not describe any other complaints

or any observations apparently related to COVID-19. Id.

                                   LEGAL FRAMEWORK

       "Federal courts are forbidden, as a general matter, to 'modify a term of imprisonment once

it has been imposed,' 18 U.S.C. § 3582(c); but the rule of finality is subject to a few narrow

exceptions." Freeman v. United States, 564 U.S. 522, 526 (2011). A court "may reduce the term

of imprisonment" in certain circumstances, including when the court finds both that "extraordinary

and compelling reasons warrant such a reduction" and "that such a reduction is consistent with

applicable policy statements issued by the Sentencing Commission." 18 U.S.C. § 3582(c)(1)(A).

See United States v. Burnette, 18-cr-329 (BAH) Minute Order issued May 1, 2020.

       A court may reduce a defendant’s term of imprisonment “after considering the factors set

forth in [18 U.S.C. § 3553(a)]” if the Court finds, as relevant here, that (i) “extraordinary and

compelling reasons warrant such a reduction” and (ii) “such a reduction is consistent with

applicable policy statements issued by the Sentencing Commission.”                     18 U.S.C.

§ 3582(c)(1)(A)(i). As the movant, the defendant bears the burden to establish that she is eligible




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for a sentence reduction. United States v. Jones, 836 F.3d 896, 899 (8th Cir. 2016); United States

v. Green, 764 F.3d 1352, 1356 (11th Cir. 2014).

         The Sentencing Commission has issued a policy statement addressing reduction of

sentences under § 3582(c)(1)(A). As relevant here, the policy statement provides that a court may

reduce the term of imprisonment after considering the § 3553(a) factors if the Court finds that

(i) “extraordinary and compelling reasons warrant the reduction;” (ii) “the defendant is not a

danger to the safety of any other person or to the community, as provided in 18 U.S.C. § 3142(g);”

and (iii) “the reduction is consistent with this policy statement.” USSG § 1B1.13. 2

         The policy statement includes an application note that specifies the types of medical

conditions that qualify as “extraordinary and compelling reasons.” First, that standard is met if the

defendant is “suffering from a terminal illness,” such as “metastatic solid-tumor cancer,

amyotrophic lateral sclerosis (ALS), end-stage organ disease, [or] advanced dementia.” USSG

§ 1B1.13, cmt. n.1(A)(i). Second, the standard is met if the defendant is:

                 (I) suffering from a serious physical or medical condition,
                 (II) suffering from a serious functional or cognitive impairment, or
                 (III) experiencing deteriorating physical or mental health because of the
                 aging process,
         that substantially diminishes the ability of the defendant to provide self-care within
         the environment of a correctional facility and from which he or she is not expected
         to recover.
USSG § 1B1.13, cmt. n.1(A)(ii). The application note also sets out other conditions and

characteristics that qualify as “extraordinary and compelling reasons” related to the defendant’s

age and family circumstances. USSG § 1B1.13, cmt. n.1(B)-(C). Finally, the note recognizes the


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    The policy statement refers only to motions filed by the BOP Director. That is because the policy statement was
last amended on November 1, 2018, and, until the enactment of the First Step Act on December 21, 2018, defendants
were not entitled to file motions under § 3582(c). See First Step Act of 2018, Pub. L. No. 115-391, § 603(b), 132 Stat.
5194, 5239; cf. 18 U.S.C. § 3582(c) (2012). In light of the statutory command that any sentence reduction be
“consistent with applicable policy statements issued by the Sentencing Commission,” § 3582(c)(1)(A)(ii), and the lack
of any plausible reason to treat motions filed by defendants differently from motions filed by BOP, the policy statement
applies to motions filed by defendants as well.

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possibility that BOP could identify other grounds that amount to “extraordinary and compelling

reasons.” USSG § 1B1.13, cmt. n.1(D).

                                            ARGUMENT

         This Court should deny defendant’s motion for a reduction in her sentence with prejudice

on either of two independently sufficient grounds. First, defendant has not established that

“extraordinary and compelling reasons” support a sentence reduction; second, defendant has not

met her burden to show that a reduction is warranted in light of the relevant § 3553(a) factors.

    I.      Defendant Has Not Identified “Extraordinary and Compelling Reasons” for a
            Sentence Reduction

         Defendant’s request for a sentence reduction should be denied because she has not

demonstrated “extraordinary and compelling reasons” warranting release. As explained above,

under the relevant provision of § 3582(c), a court can grant a sentence reduction only if it

determines that “extraordinary and compelling reasons” justify the reduction and that “such a

reduction is consistent with applicable policy statements issued by the Sentencing Commission.”

18 U.S.C. § 3582(c)(1)(A)(i).         The Sentencing Commission’s policy statement defines

“extraordinary and compelling reasons” to include, as relevant here, certain specified categories

of medical conditions. USSG § 1B1.13, cmt. n.1(A).

         For that reason, to state a cognizable basis for a sentence reduction based on a medical

condition, a defendant first must establish that her condition falls within one of the categories listed

in the policy statement. Those categories include, as particularly relevant here, (i) any terminal

illness, and (ii) any “serious physical or medical condition . . . that substantially diminishes the

ability of the defendant to provide self-care within the environment of a correctional facility and

from which he or she is not expected to recover.” USSG 1B1.13, cmt. n.1(A). If a defendant’s



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medical condition does not fall within one of the categories specified in the application note (and

no other part of the application note applies), his or her motion must be denied.

        By her own admission, the defendant suffers from no such medical condition. Instead, she

contracted a mild case of COVID-19 over two months ago, and appears to have recovered fully

over six weeks ago with no lasting side-effects. Her argument relies on the mere continuing

existence of the COVID-19 pandemic, which poses a general threat to every non-immune person

in the country. This alone cannot provide a basis for a sentence reduction. The categories cited in

USSG 1B1.13, cmt. n.1(A) encompass specific serious medical conditions afflicting an individual

inmate, not generalized threats to the entire population. As the Third Circuit has held, “the mere

existence of COVID-19 in society and the possibility that it may spread to a particular prison alone

cannot independently justify compassionate release.” Raia, 2020 WL 1647922 at *2; see also

Eberhart, 2020 WL 1450745 at *2 (“a reduction of sentence due solely to concerns about the

spread of COVID-19 is not consistent with the applicable policy statement of the Sentencing

Commission as required by § 3582(c)(1)(A).”). 3 To classify COVID-19 as an extraordinary and

compelling reason would not only be inconsistent with the text of the statute and the policy

statement, but would be detrimental to BOP’s organized and comprehensive anti-COVID-19

regimens, could result in the scattershot treatment of inmates, and would undercut the strict criteria

BOP employs to determine individual inmates’ eligibility for sentence reductions and home

confinement. Section 3582(c)(1)(A) contemplates sentence reductions for specific individuals, not


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    See also, e.g., United States v. Coles, 2020 WL 1899562 (E.D. Mich. Apr. 17, 2020) (denied for 28-year-old inmate
at institution with outbreak); United States v. Okpala, 2020 WL 1864889 (E.D.N.Y. Apr. 14, 2020); United States v.
Weeks, 2020 WL 1862634 (S.D.N.Y. Apr. 14, 2020); United States v. Haney, 2020 WL 1821988 (S.D.N.Y. Apr. 13,
2020) (denied for 61-year-old with no other conditions); United States v. Pinto-Thomaz, 2020 WL 1845875 (S.D.N.Y.
Apr. 13, 2020) (two insider trading defendants with less than a year to serve have no risk factors); United States v.
Korn, 2020 WL 1808213, at *6 (W.D.N.Y. Apr. 9, 2020) (“in this Court’s view, the mere possibility of contracting a
communicable disease such as COVID-19, without any showing that the Bureau of Prisons will not or cannot guard
against or treat such a disease, does not constitute an extraordinary or compelling reason for a sentence reduction
under the statutory scheme.”); United States v. Carver, 2020 WL 1892340 (E.D. Wash. Apr. 8, 2020).

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the widespread prophylactic release of inmates and the modification of lawfully imposed sentences

to deal with a world-wide viral pandemic.

         That does not mean, however, that COVID-19 is irrelevant to a court’s analysis of a motion

under § 3582(c)(1)(A). If an inmate has a chronic medical condition that has been identified by

the CDC as elevating the inmate’s risk of becoming seriously ill from COVID-19, 4 that condition

may satisfy the standard of “extraordinary and compelling reasons.” Under these circumstances,

a chronic condition (i.e., one “from which [the defendant] is not expected to recover”) reasonably

may be found to be “serious” and to “substantially diminish[] the ability of the defendant to provide

self-care within the environment of a correctional facility,” even if that condition would not have

constituted an “extraordinary and compelling reason” absent the risk of COVID-19. USSG §

1B1.13, cmt. n.1(A)(ii)(I). In this case, defendant has not shown evidence that she has any medical

condition that would make her more vulnerable to becoming seriously ill should she contract

COVID-19 again. To the contrary, the defendant ignores the widely accepted premise that

infection and later recovery confers some immunity from future infection. 5

         The defendant has failed to allege any facts or rationale that would constitute an

extraordinary and compelling reason within the meaning of § 3582(c)(1) or U.S.S.G. 1B1.13.

Hence, her motion should be denied.




4
   See Centers for Disease Control, At Risk for Severe Illness, available at https://www.cdc.gov/coronavirus/2019-
ncov/need-extra-precautions/groups-at-higher-risk.html (last modified Apr. 2, 2020).
5
  The defendant recounts several anecdotes as support for the idea that, even in recovery, she is “not out of the woods.”
Motion at 4-5. These anecdotes are distinguishable from the defendant’s case, since each of the persons is described
as having pre-existing conditions recognized by the CDC to be risk factors for developing a more severe COVID-19
disease, and none appeared to be fully recovered for anything approaching six weeks—as the defendant has—before
taking a turn for the worse. In addition, although the defendant labels these anecdotes as describing “people who were
thought to have recovered from COVID, but later died from it” (Id.), most of the articles themselves do not describe
COVID-19 as a cause of death. Instead, the articles describe two persons who were admitted to the hospital with
apparently unrelated issues (chest pains, anxiety and stroke). The third patient, who had already been diagnosed with
terminal cancer, died while on a ventilator—arguably a death attributable to COVID-19.

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   II.        The § 3553(a) Factors Strongly Weigh Against the Defendant’s Release

         Under the applicable policy statement, this Court must deny a sentence reduction unless it

determines the defendant “is not a danger to the safety of any other person or to the community.”

USSG § 1B1.13(2). Additionally, this Court must consider the § 3553(a) factors, as “applicable,”

as part of its analysis. See § 3582(c)(1)(A); United States v. Chambliss, 948 F.3d 691, 694 (5th

Cir. 2020).

         The nature and the circumstances of defendant’s crime are detailed supra. As the

government argued at the time of defendant’s sentencing, the defendant jeopardized and possibly

harmed the national security of the United States, and benefited the intelligence services of China,

all for her own financial gain. Accordingly, in light of defendant’s record and the totality of

relevant circumstances, this Court should summarily deny the motion for a sentence reduction.

         For these reasons, this Court should deny defendant’s motion for a sentence reduction on

the merits.



                                       Respectfully submitted,

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